	Filed:  January 27, 2000



IN THE SUPREME COURT OF THE STATE OF OREGON




STEVEN RAY WAGY,


	Petitioner on Review.


	v.


BOARD OF PAROLE AND 

POST-PRISON SUPERVISION,


	Respondent on Review.



(CA A90587 (Control), A94238; (Cases Consolidated) SC S44077)



	On review from the Court of Appeals.*


	On petition for review filed March 17, 1997.


	Andy Simrin, Deputy Public Defender, Salem, filed the petition for petitioner on
review.  With him on the petition was Sally L. Avera, Public Defender.


	No appearance contra.


	Before Carson, Chief Justice, and Gillette, Van Hoomissen, Durham, and
Leeson, Justices.**


	MEMORANDUM OPINION


	The petition for review is allowed.  The decision of the Court of Appeals is
vacated.  The case is remanded to the Court of Appeals with instructions to dismiss the
petition for judicial review.  See&nbsp;Quintero v. Board of Parole, 329 Or 319, 986 P2d 575
(1999). 


	*Judicial review from the Board of Parole and Post-Prison Supervision.

	146 Or App 388, 934 P2d 448 (1997).


	**Fadeley, J., retired January 31, 1998, and did not participate in this decision;
Graber, J., resigned March 31, 1998, and did not participate in this decision; Kulongoski
and Riggs, JJ., did not participate in the consideration or decision of this case.



